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                                CERTIFICATE OF SERVICE

       I, Tyler J. Harttraft, certify that on February 26, 2021, the foregoing Defendants’ Answer

with Affirmative Defenses to Plaintiffs’ Amended Complaint and Counterclaim was electronically

filed with the Court and served upon the following via the Court’s electronic filing system:



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